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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )       No. 18 CR 789
               v.                             )
                                              )       Judge Gary S. Feinerman
DENY MITROVICH                                )

                            PRELIMINARY ORDER OF FORFEITURE

       The United States asks this Court to issue a preliminary order of forfeiture pursuant to Title

18, United States Code, Section 2253 and Federal Rules of Criminal Procedure 32.2.

       (a)     On November 20, 2018, an indictment was returned charging DENY MITROVICH

with possession of child pornography, in violation of 18 U.S.C. § 2252A(a)(5)(B).               The

indictment sought forfeiture to the United States of property that was used, or intended to be used,

to commit and to promote the commission of the charged offense.

       (b)     On March 3, 2022, defendant DENY MITROVICH entered a voluntary plea of

guilty to the indictment.

       (c)     Pursuant to the terms of the plea agreement and as a result of his violation of 18

U.S.C. § 2252A(a)(5)(B), defendant DENY MITROVICH agreed that certain property, including

but not limited to: (1) one Western Digital External Hard Drive, bearing serial number

WCARW6062159, (2) one Hitachi Internal Hard Drive, bearing serial number HN07304A, and

(3) one Western Digital Internal Hard Drive, bearing serial number WCASY1307751, is subject

to forfeiture pursuant to the provisions of 18 U.S.C. § 2253.

       (d)     Defendant DENY MITROVICH has agreed to the entry of a preliminary order of

forfeiture relinquishing any right, title or interest he has in the foregoing property pursuant to 18

U.S.C. § 2253, for disposition according to law.
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        (e)     The United States requests that this Court enter a preliminary order of forfeiture

against defendant DENY MITROVICH as to: (1) one Western Digital External Hard Drive,

bearing serial number WCARW6062159, (2) one Hitachi Internal Hard Drive, bearing serial

number HN07304A, and (3) one Western Digital Internal Hard Drive, bearing serial number

WCASY1307751, because the property was used, or intended to be used, to commit and to

promote the commission of the offense of conviction.

        (f)     Accordingly, this Court orders that a preliminary order of forfeiture be entered

against defendant DENY MITROVICH as to the foregoing property.                  Pursuant to 18 U.S.C. §

2253 and Fed. R. Crim. P. 32.2, all right, title, and interest of the defendant in the foregoing

property named in this order shall be forfeited to the United States for disposition according to

law.

        (g)     Pursuant to 18 U.S.C. § 2253 and Fed. R. Crim. P. 32.2, the terms and conditions

of this preliminary order of forfeiture shall be made part of the sentence imposed against the

defendant and recited in any judgment and commitment order entered in the case. In accordance

with Rule 32.2(b)(4)(A), at sentencing-or at any time before sentencing if the defendant consents-

the preliminary order of forfeiture, will become final as to the defendant. Pursuant to Rule

32.2(c), if a third party files a petition asserting an interest in the property to be forfeited, this Court

must hold a hearing to determine his rights. Pursuant to 21 U.S.C. § 853(n)(2), as incorporated

by 18 U.S.C. § 2253(b), third parties have 30 days from the publication of notice or receipt of

notice, whichever is earlier, to file a petition. The preliminary order of forfeiture will remain

preliminary as to third parties until such an ancillary proceeding, if required, can be conducted

under Rule 32.2(c).      After disposition of all third party interests, this Court shall, upon the


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government’s motion if appropriate, enter a final order of forfeiture for the property that is the

subject of this preliminary order of forfeiture, thereby vesting clear title in the United States of

America.

       (h)     Pursuant to 21 U.S.C. § 853(g), as incorporated by 18 U.S.C. § 2253(b), and Fed.

R. Crim. P. 32.2, upon entry of this preliminary order of forfeiture the foregoing property shall be

seized by the Federal Bureau of Investigation.

       (i)     This Court shall retain jurisdiction to take such additional action and enter such

further orders as may be necessary to implement and enforce this preliminary forfeiture order.




                                              GARY S. FEINERMAN
                                              United States District Judge


DATED: 12/19/2022




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